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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

ABDULLAH RABBAT,
                                                     Case Number 6:17-cv-278-Orl-28KRS
       Plaintiff,

v.

COVINGTON SPECIALTY INSURANCE
COMPANY,

      Defendant.
______________________________________/

COVINGTON SPECIALTY INSURANCE
COMPANY,

       Third Party Plaintiff,

v.

JERRY DEMINGS, IN HIS OFFICIAL
CAPACITY AS SHERIFF OF ORANGE
COUNTY, FLORIDA

      Third Party Defendant.
______________________________________/

                      Third Party Defendant’s Answer and Affirmative Defenses

       Third Party Defendant, Jerry L. Demings, in his official capacity as Sheriff of Orange

County, Florida, files this answer and affirmative defenses to the Plaintiff’s amended third party

complaint.

       1.      Sheriff Demings admits that he is the duly elected Sheriff of Orange County,

Florida.
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        2.      Sheriff Demings admits that on February 15, 2014, Orange County deputy

sheriffs responded to 5151 South Orange Blossom Trail in Orlando in response to reported

gunshots on or near the property.

        3.      Sheriff Demings admits that deputies cleared and secured both the outside and the

inside of the subject property.

        4.      Sheriff Demings denies the remaining allegations in the amended third party

complaint.

                                        Affirmative Defenses

        5.      Defendant affirmatively asserts that he is entitled to sovereign immunity, and any

liability to the Plaintiff is subject to the terms, provisions, restrictions, limitations, exclusions and

requirements set forth in Florida statute section 768.28, including the monetary sums and

limitations on liability contained therein.

        6.      Defendant affirmatively asserts that he is not liable for the alleged actions or

inactions that serve as the basis of the Plaintiff’s complaint because such actions are

discretionary, planning level activities and are shielded from liability by Florida’s sovereign

immunity.

        7.      Defendant affirmatively asserts that the Plaintiff failed to provide timely presuit

notice to the Florida Department of Financial Services as provided in Florida Statute 768.28(6).

        8.      Defendant affirmatively asserts that the Plaintiff failed to comply with the service

requirements of Florida Statute 768.28(7) by failing to serve process on the Florida Department

of Financial services.
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       9.      Defendant affirmatively asserts that the injuries and damages alleged in the

complaint were proximately caused by or contributed to by the Plaintiff’s own negligence, and

therefore the claims of the Plaintiff should be barred or diminished accordingly.

       10.     Defendant affirmatively asserts that the Plaintiff’s damages were caused, in whole

or in part, by the negligence and carelessness of non-parties, and that the Defendant is required to

pay only its proportion of share of certain damages that might be awarded in favor of the

Plaintiff pursuant to Florida Statute 768.81.

       11.     Defendant affirmatively asserts that the Plaintiff failed to mitigate his damages as

required by applicable law.

       12.     Defendant affirmatively asserts that the Plaintiff has received payment from

collateral sources as defined in Florida statute sections 768.76 and 627.736(3), and Defendant is

therefore entitled to a set-off or deduction equal to the value of all benefits received by the

plaintiff from any collateral source, including PIP benefits.

       13.     Defendant affirmatively asserts that he is entitled to a setoff pursuant to Florida

statute 768.041 or reduction for any sums which the Plaintiff has received by way of settlement,

payments, benefits, awards, verdicts or other payments from any other person, firm or

corporation as a result of the incident described in the complaint.

       Defendant demands trial by jury.

                                       Certificate of Service

        I certify that on this 31st day of October, 2017, I electronically filed this document with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
the following:

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